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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                           NOTICE


VERONICA SANDERS                                                                                    PLAINTIFF

VS.                                                          CIVIL ACTION NO.: 3:22-cv-120-MPM-JMV

VOLVO GROUP NORTH AMERICA, LLC                                                                      DEFENDANT


      TAKE NOTICE that a proceeding in this case has been SET for the date, time, and place set forth below:

Place                                                          Room No.

U.S. FEDERAL BUILDING                                          Room 364
305 Main Street
Greenville, MS 38701                                           Date and Time

                                                               APRIL 17, 2023
                                                               10:30 A.M.

Type of Proceeding

                             SETTLEMENT CONFERENCE
               BEFORE UNITED STATES MAGISTRATE JUDGE JANE M. VIRDEN

      COUNSEL, PLAINTIFF(S), DEFENDANT(S), AND REPRESENTATIVE(S) WITH FULL
       SETTLEMENT AUTHORITY MUST ATTEND UNLESS EXCUSED BY THE COURT.

Please note: On most occasions Judge Virden does not recess the conference for a lunch break. However, in
 the event anyone requires lunch, please simply let us know and that request will be accommodated with a
              break. Also, you are welcome to bring a snack such as protein bars or nuts, etc.


                                                               DAVID CREWS, Clerk of Court

                                                               By:   /s/ Itonia R. Williams
                                                                     Courtroom Deputy Clerk

Date: March 29, 2023

                          If you have any question, contact Itonia R. Williams at 662-335-9214 or
                                  via email at: itonia_williams@msnd.uscourts.gov
